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                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF VIRGINIA
                         ABINGDON DIVISION


UNITED STATES OF AMERICA                   )
                                           )
                                           )   Case No. 1:08CR00024
                                           )
v.                                         )         FINAL ORDER
                                           )
BRYANT KELLY PRIDE,                        )   By: James P. Jones
                                           )   United States District Judge
             Defendant.                    )


       For the reasons set forth in the Opinion accompanying this Final Order, it is

ORDERED that the government’s Motion to Dismiss is GRANTED, and the

defendant’s § 2255 motion is DENIED. It is further ORDERED that based upon the

court’s finding that the defendant has not made the requisite showing of denial of a

substantial right, a certificate of appealability is DENIED.

                                               ENTER: February 11, 2011

                                               /s/ JAMES P. JONES
                                               United States District Judge
